                          Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 1 of 9

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                     Gary L. Walton, Esq.
                     GARYL. WALTON, PU.C                                                 21\l~ NOU 25 Pf11 '3 50
                     8 West Park Street, Suite 401
                                                                                                  FILED
                     P.O. Box 4248                                                         oy _ _ _ _ _ _ ___,
                     Butte, Montana 59702-4248
                     (406) 494-1385                                                                DEPUT'f
                                Attorneys for Plaintiff


                                              MONTANA EIGH1'EENTH JUDICIAL DISTRICT COURT
                                                          GALLATIN COUNTY

                     ELIZABETH SADAJ,                                          )
                                                                               )
                                                                                      CAUSE NO. f)Y - /Lf-7d7 C...
                                                     Plaintiff,                )
                                                                               )
                                                                                             .
                                -VS·                                           )      COMPLAINT AND DEMAND
                                                                               )      FOR JURY TRIAL
                     FEDERAL INSURANCE COMPANY,                                )
                     SPANISH PEAKS HOLDINGS, LLC.                              )
                     and JOHN DOES Noa. 1-5.                                   )
                                                                               )
                                                     Defendants.               )



                                COMES NOW the Plaintiff, Elizabeth Sadaj, by and through her attomeys, Gary L.

                     Walton. PLLC, and for her claims against the Defendants alleges as follows:

                     l.         Plaintiff. Elizabeth Sadaj, r'Sadaj"J, is a citizen and resident of Gallatin County,

                                Montana.

                     2.         Defendant, Federal Insur~nce Company, ["FIC"J, is an insurance company

                                authorized to do business in Montana. FIC sells insm:ance in Montana under the

                                authority granted by the State's Insurance Commisaionet· and subject to her

                                regulatory authority. FIC is subject to the laws of Montana, including the Montana

                                Unfah-'1'1·ade Practices Act.

                   · 3.         Spanish Peaks Hol~ings, LLC, [SPH] was and at all times pertinent to this action a

........... · .... "·, '" , • ' • ~·-<MutJtiU'ia.. limited   liability company with ito prinoipnl plo.oo of bueines& in Big Sky, .   ~   ;..._..   -   ....



                     1. POMPLAINT ANQ DEMAND                         FOR JURY TRIAL                                      EXHIBIT

                                                                                                                             A
                    Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 2 of 9




                             Montana. At all times televant hetein, Spanish Peaks acted with the authority and

                             as an agent of FIC.

             4.              Defendants John Does l through 5 are fictitious defendants whose identity is

                             currently unknown and are named pursuant to MCA 25-5-103 (2013).

             5.              The Court has personal and subject matter jurisdiction of the Defendants.

             6.              Gallatin County, Montana is proper venue for this action in accordance with MCA§

                             25-2-122(b).

                                                                                  COUNTI

             7.              Sadaj realleges paragraphs l through 6 of her Complaint as if fully set forth

                             verbatim.

             8.              Sadaj worked for The Club at Spanish Peaks, LLC from February 2008 until March

                             2, 2010 when she was·wrongfully discharged from her employment.

             9.              On   01·   about Match 1, 2011 Sadaj filed suit against The Club a,t Spanish Peaks,

                             [Club], for wt:ongful discharge and other claims.

             10.             On March 1, 2011 The Club at Spanish Peaks, LLC waa insured by Federal

                             Insurance Company ("FIC'') against claims arising from the employment

                             relationship. The Club notified FIC of Sadaj'e lawsuit. The Club appeared in the

                             lawsuit through counsel selected, approved and retained by FIC.

             11.             Despite liability being reasonably clear, the Club denied all liability in its answei· to

                             the Complaint.

             12.             Once notified of Sadaj's claim, FlC had an affirmative duty to 1·efrain from:

                             a.         misrepreaenting pertinent facts or insurance policy provisions relating to

                                        coverages at issue;


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             2. COMPLAINT AND DEMAND FOR JURY TRIAL
                                 Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 3 of 9

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                                           b.           refusing to pay claims without conducting a reasonable investigation based

                                                        upon all available information;

                                           c.           failing to affirm or deny coverage of claims within a reasonable time after

                                                        proof of loss statements have been completed;

                                           d.           neglecting to attempt in good faith t.o effectuate pl'ompt, fair, and equitable

                                                        aettlements of claims in which liability has become teasonably clear;

                                           e.           failing to promptly settle claims, ii liability has become reasonably clear,

                                                        under one portion of the insurance policy cove1·age in order to influence

                                                        settlements under other portion$ of the insurance policy coverage.

                        13.                F'IC breached one or more of its statutory duties in the handling, adjustment and

                        settlement of Sadaj's claim. FIC's breach caused Sadaj to suffer actual damage_s in an

                        amount to be proven at trial.

                        14.                The Defendants actions c0nstitute actual malice, as defined in MCA 27-1~221 and

                        warrant the imposition of punitive or exemplary damages in an amount sufficient, in view

                        of the size and wealth of FIC and the CHUBB Group of Companies, to make an example of

                        their conduct and to deter similar wrongful oonduct in the future.

                                                                                                                COUNT II

                        15.                Sadaj realleges paragraphs 1 through 14 of her Complaint as if fully set forth

                        verbatim.

                        16.                Shortly after Sadaj filed suit against the Club, it sought protection under the federal

                        bankruptcy statutes from its creditors. Despite the fact that the Club was insured for the

                        claims brought by Sadaj, FIC and SPH refused -to agree t.o lifting the automatic stay with

                        respect to Sadaj's claim. FIC and $PH's refused to the lifting of the automatic stay in

                        order to further delay Sadaj's rightful recovery under the insurance policy.
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                        3. ~41.N'rAND DEMAND FOR JURY TRIAL
                              Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 4 of 9




                       .17,        FIC is vicariously liable for the acts and omissions of SPH with respect to Sadaj's

                      claim.

                      18.          The Defendants had a common law duty to act in good faith in the investigation,

                      adjustment. and settlement of Sadaj's claim. The Defendants breached their duty of good

                      faith and fair dealing by (1) making repl·esentations concerning its legal duties that are

                      contrary to Montana law; (2} failing to act reasonably p1·omptly upon communications with

                      respect to claims arising under the policy; (3) neglecting to attempt in good faith to

                      effectuate prompt, fair, and equitable settlements of claims in which liability has ecome

                      reasonably clear; (4) failing to promptly provide a reasonable explanation of the basis in

                      the insurance policy in relation to the facts or applicable law for denial of a claim or for the

                      offer of a compromise settlement; and (5) improperly attempting to leverage its own

                      interests over those of the claimant when liability for the claim is reasonably clear.

                      19.          Sadaj suffered actual damages due to the Defendants' breach of the common law

                      duty of good faith and fair dealing.

                      20.          The Defendants actions constitute actual malice, as defined in MCA 27-1-221 and

                      warrant the imposition of punitive or exemplary damages in an amount sufficient, in view

                      of the size and wealth of FIC and the CHUBB Group of Companies, to make an example of

                      their conduct and to deter similar wrongful conduct in the future.

                                   WHEREFORE, Sadaj prays for relief as follows:

                      1.           For all special, general, and compensatory damages sustained by her;

                      2.           For exemplary damages in an amount sufficient to deter the Defendants from

                                   engaging in the same or similar conduct in the future;
                                                                                                       .
                     3.            For the costs of this action; and

                      4.           For any and all such other relief which the Court dee~s equitable and just.
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                      4, CQMPLAINT AND DEMAND EOR JJIRY TRIAL
         Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 5 of 9


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           Dated: November 24, 2014.




                                    DEMAND FOR .JURY TRIAL

           The Plaintiff hereby demands a trial by jury of all issues so triable in this action.

           Dated: November 24, 2014.




       6. COMeLAINTAND DEMAND FOR ~QRY TRIAL
       Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 6 of 9


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GARY L. WALTON, PLLC
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(406) 494-1385

      Attorneys for Plaintiff


               MON'rANA EIGHTEENTH JUDICIAL DISTRICT COURT
                            GALLA'l'IN COUNTY

ELIZABETH SADAJ,                         )
                                         )
                    Plaintiff,           )      CAUSE NO. DV-14-907C
                                         )
       -vs-                              )      VOLUNTARY DISMISSAL OF
                                         )      SPANISH PEAKS HOLDINGS, LLC
FEDERAL INSURANCE COMPANY,               )      WI'l'HOU'l' PREJUDICE PURSUANT
SPANISH PEAKS HOLDINGS, LLC,             )      TO RULE 41(a,), M.R.ClV.P.
and JOHN DOES Nos. 1-5,                  )
                                         )
                    Defendants.          )




      COMES NOW the Plaintiff, Elizabeth Sadaj, by and through her attorneys, Gary L.

Walton, PLLC, and pursuant to Rule 41(a), M.R.Civ.P., voluntarily dismisses Defendant,

Spanish Peaks Holdings, LLC without prejudice in this action.

       Dated: November 17, 2017.




                                                By_.,{-lfl4rsi-~~,-y...."'-+__::.::.:._~--
                                                   Attor eys for Plaintiff
                                                   P_()_ Box 4248
                                                   Butte, Montana 5 9702-4248




1. VOLUNTARY DISMISSAL OF SPANISH PEARS HOLDINGS, LLC
  WITHOUT PREJUDICE PURSUANT TO RULE 41(a), M.R.CIV.P.·                        EXHIBIT

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          Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 7 of 9
                                                                                  Filctl Nov. 20, :ZOl7

                                                                             Jeunifer Brnmlou, Clerk
                                                                               HY_ _ _i,:i::Q_;..._
                                                                                               Deputy

                  MONTANA EIGHTEENTH JUDICIAL DISTRICT COURT
                              GALLATIN COUNTY
                                    *******************************


    Elizabeth Sadaj,

                   Plaintiff(s ),

           -vs-                                    Cause No: DV-16-2014-0000907-BF


    Federal Insurance Company,

    Spanish Peaks Holdings, LLC,

                   Defendant( s).



                      ***********NOTICE OF DISMISSAL*************


    Pursuanl lo the Plaintiffs Voluntary Dismissal of Spanish Peaks Holdings, LLC
    without Prejudice Pursuant to Rule 41(a), M.R.CIV.P. filed on November 20, 2017,
    Spanish Peaks Holdings, LLC is hereby DISMISSED pursuant to Rule 4l(a)(l) of the
    Montana Rules of Civil Procedure.

    Dated this November 20, 2017,

                                                   Jennifer Brandon
                                                   Clerk of District Court

                                                   BvfwlfrJtv,$ Deput


    cc: Gary L Walton - ~t.cz.d l~·'2.:Z.·L7

                                                                             EXHIBIT


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                 Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 8 of 9




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                            Commissioner of Securities and Insurance
                            Office of State Aucfitor
                            840 Helena Avenue
                            Helena, MT 59601

                             Federal Insurance Co
                             CT Corporation System
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                             3011 American Way
                             Missoula, MT 59808
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    Case 2:17-cv-00092-SEH Document 1-1 Filed 12/18/17 Page 9 of 9



t~l CT Corporation                                                         Service of Process
                                                                           Transmittal
                                                                           12/04/2017
                                                                           CT Log Number 532409572
   TO:       Charles Short
             Federal Insurance Company
             2603 Camino Ramon Ste 300
             San Ramon, CA 94583-9137

   RE:       Process Served In Montana

   FOR:      Federal Insurance Company (Domestic State: IN)




   ENCLOSEO ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGEN'f OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF A.CTIONt                  Elizabeth Sadaj, Pltf. vs. Federal Insurance Company, et al., Ofts.
   DOCUMENT(S) SERVED:                Letter(s), summons, Complaint, First Set of Combined Requests
   COURl'/AOENCY:                     Montana Eighteenth Judicial District Court - Gallatin County, MT
                                      Case # DV14907C
   NATURE OF ACTIONt                  Insurance Litigation
   ON WHOM PROCESS WAS SERVED:        C T Corporation System, Missoula, MT
   DATE AND HOUR OF SERVICE:          By Ce1tified Mail on 12/04/2017 postmarked: "Not Post Marked"
   JURIIIDICTl9H 81:RVED c            Montana
   APPEARANCE OR ANSWER DUE:          Within 21 days after service, exclusive of the day of service
   ATTORNEY(&} I SENDER(&):           Gary L. Walton
                                      Gary L. Walton, PLLC
                                      8 West Park Street, Suite 401
                                      Butte, MT 59702-4248
                                      406-494-1385
   ACTION 0-l:1111S:                  CT has retained the current log, Retain Date: 12/05/2017, Expected Purge Date:
                                      12/10/2017
                                      Image SOP
                                      Email Notification, CT Corp ct_corp@chubb.com
                                      Email Notification, Joyce E. Segelken jsegelken@chubb.com
                                      Email Notification, Charles Short cshort@chubb.com

   SIONl!D,                           C T Corporation Sy~tem
   ADDRESS•                           3011 American Way
                                      Missoula, MT 59808-1921
   TELEPHONE!                         314·863-5545




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                                                                             Corporation's r&ard keap\fl!l purpooes only and Is provided to
                                                                             tho recipient tor QU!tl< rcterooce. lllls lnformatkm does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any Information
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                                                                             appropriate action. Slgn3lures on certlrled malt receipts
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